               Case 20-14801-mdc                   Doc     Filed 11/09/21 Entered 11/09/21 08:45:52                                   Desc Main
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Fill in this information to identify the case:

Debtor 1              Ben Houston Booker, Jr.

Debtor 2              Stacey Booker
(Spouse, if filing)

United States Bankruptcy Court for the : Eastern                   District of Pennsylvania
                                                                              (State)

Case number           20-14801-MDC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             Lakeview Loan Servicing, LLC                         Court claim no. (if known):         3

Last four digits of any number you                 XXXXXX0946                      Date of payment change:
use to identify the debtors’ account:                                              Must be at least 21 days after date of                12/1/2021
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any               $1,027.93

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:              $ 435.97                                   New escrow payment :            $ 563.71

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                         %                              New interest rate:          %

             Current principal and interest payment:        $ _________                    New principal and interest payment:             $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                 $ _________                           New mortgage payment:             $ _________




Official Form 410S1                                Notice of Mortgage Payment Change                                                  page 1
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 Debtor 1            Ben Houston Booker, Jr.                                          Case number (if known) 20-14801-MDC
                    First Name Middle Name      Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/A. Michelle Hart Ippoliti                                                        Date     11/08/2021
     Signature

Print:         A. Michelle                                            Hart Ippoliti     Title    Authorized Agent for Creditor
               First Name            Middle Name                      Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                         GA                      30076
               City                            State                   ZIP Code

Contact phone      678-281-6537                                                          Email    Michelle.HartIppoliti@mccalla.com




Official Form 410S1                              Notice of Mortgage Payment Change                                  page 2
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                                                           Bankruptcy Case No.:     20-14801-MDC
 In Re:                                                    Chapter:                 13
           Ben Houston Booker, Jr.                         Judge:                   Magdeline D.
           Stacey Booker                                                            Coleman

                                       CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
regular United States Mail, with proper postage affixed, unless another manner of service is expressly
indicated:

Ben Houston Booker, Jr.
705 Briarcliff Road
Upper Darby, PA 19082

Stacey Booker
705 Briarcliff Road
Upper Darby, PA 19082

ROBERT D. STEINBERG                               (served via ECF Notification)
Willig, Williams & Davidson
1845 Walnut Street, 24th Floor
Philadelphia, PA 19103

KENNETH E. WEST                                   (served via ECF Notification)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee                             (served via ECF Notification)
Office of United States Trustee
200 Chestnut Street, Suite 502
Philadelphia, PA 19106

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:        11/09/2021        By:     /s/A. Michelle Hart Ippoliti
                      (date)                  A. Michelle Hart Ippoliti
                                              Authorized Agent for Creditor
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